Department GPeCrtedtiag-02899-LTS Document 1-8 Filed 04/21/17 Page 1 of 15 Page 1 of 15

Menu

 

 

 

Search
About DOCNewsFacilitiesContact DOC
| Select v|

 

* In the News
* News Releases and Other Information

Statement before the

New York City Council

Committee on Fire and Criminal Justice Services

Elizabeth Crowley, Chairperson

By Joseph Ponte, Commissioner

NYC Department of Correction

March 10, 2016

Good morning, Chair Crowley and members of the Fire and Criminal Justice Services
committee. | am Joseph Ponte, Commissioner of the New York City Department of
Correction. | thank the Council for the opportunity to testify here today and for their continued
support as we work to ensure the safety of our staff and those entrusted to our care.

https://www1 .nyc.gov/site/doc/media/budget_testimony.page 3/29/2017
Department Cees rtedifahv-02899-LTS Document 1-8 Filed 04/21/17 Page 2 of 15 Page 2 of 15

The 14-Point Anti-Violence Reform Agenda

Since we last spoke, the Department has been continuing our rapid pace of reform. We
have been implementing our 14-point Anti-Violence Reform Agenda, which ! spoke to you
about last year. The agenda focuses on reducing violence by improving security policies,
upgrading our infrastructure and systems, and fostering cultural change, included through
expanded training and programming. We have instituted Department-wide changes that we
believe will improve inmate and staff satisfaction and safety. We have improved our
processes for recruiting and vetting staff to ensure that we have a capable and well-qualified
pool of recruits for our Academy. We have improved our data assessment and analysis to
target hot spots — specific housing areas where violence is flaring up. We have also created
the Housing Unit Builder (HUB) to better classify and house inmates to ensure that we are
providing appropriate housing, staffing and programming to inmates who pose various levels
of risk of violence. We are committed to this comprehensive strategy and expanding our
reforms that we have piloted with specific populations or in specific housing units
department-wide.

Today I'd like to highlight the progress we have made on the core elements of our Anti-
Violence Plan.

Reforms Targeting Special Populations

We have made significant progress on this ambitious agenda, especially in implementing
reforms for some of our most difficult and vulnerable populations — namely the seriously
mentally ill, adolescents, and young adults.

For the seriously mentally ill, we created and then expanded therapeutic units, Clinical
Alternative to Punitive Segregation (CAPS) and Program for Accelerated Clinical
Effectiveness (PACE), which serve as national models for dealing with their unique
challenges. These units operate as clinical settings, with correction officers and health staff
on the units together during the day. The units are designed around tight collaboration

https://www1 .nyc.gov/site/doc/media/budget_testimony.page 3/29/2017
Department CeSBricdtfagv-02899-LTS Document 1-8 Filed 04/21/17 Page 3 of 15 Page 3 of 15

between clinical staff and uniformed staff with improved strategies for dealing with the
behavioral issues triggered by mental illness. Violence on these units have been
extraordinarily low since they opened and we are excited to be able to expand this model to
get better treatment to more inmates.

For 16 and 17 year olds, we have lowered housing area censuses and increased staffing
ratios, eliminated punitive segregation, created non-punitive, therapeutic alternatives for
managing their behavior, and expanded programming. Expansions include new indoor
recreation spaces and innovative programs, such as the Rikers Rovers program.

For the 18 to 21 year olds in our custody, we are in the process of creating an age-
appropriate facility that addresses the unique developmental needs and safety challenges
associated with the transition from adolescence to adulthood. In this newly dedicated facility,
we will provide developmentally-appropriate programming and management to this
population. The Nunez/DOJ consent judgment only requires DOC to modify staffing
(increase staffing ratios, assign more steady officers, provide specific training) in areas with
the 16 to 18 year old population. Because these reforms will help us to safely address the
needs of young adults, however, we have elected to expand these reforms to all 1,100
young adults in our custody.

Also as part of our Young Adult Plan, we are phasing out the use of punitive segregation
with18 to 21 year olds — making us the first jail in the nation to do so. Punitive segregation is
being replaced with a continuum of alternative disciplinary sanctions for infractions. The first
of these alternative areas, our Second Chance housing, has already been opened. In
addition to disciplinary sanctions, positive behavior will be formally incentivized through
additional programming, vocational training, enhanced visits and recreation time. This will
apply to both individual behavior and whole housing areas. This is particularly important
because young adults represent our most violent population; they are 10% of our daily
population but are involved in more than 30% of our violent incidents. We are implementing
a holistic approach to behavior management, which better serves the inmates and our
officers by introducing measures designed to reduce incidents of violence.

Punitive Segregation Reforms

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Department CO66ricdifopV-02899-LTS Document 1-8 Filed 04/21/17 Page 4 of 15 page 4 of 15

Let me take a moment to expand on our broader punitive segregation reforms. We have
fundamentally transformed the use of punitive segregation within the Department. When |
first started we had close to 600 people in punitive segregation, and we had hundreds of
inmates who owed thousands of days. We

have reduced the use of punitive segregation by roughly 70% and now have 180 individuals
in punitive segregation. We expect this number to come down even further as we eliminate
punitive segregation for 18 to 21 year olds, as | discussed earlier.

With few exceptions, we have capped the maximum sentence to thirty days and have set
length of stay limits. Adolescents no longer serve punitive segregation. We have eliminated
time owed from previous incarcerations and we have introduced a lower level of punitive
segregation that provides for seven hours of out of cell time each day. We are more
judiciously using punitive segregation and introducing more incentive-based models.

Expanded Camera Coverage

We have also made tremendous strides in expanding camera coverage. Currently, we have
100% camera coverage in our adolescent facility, our young adult facility, and our model
facility that | will describe in more detail later on. We initially focused on installing cameras in
the facilities where we house some of our most difficult to manage populations. We are now
working on expanding camera coverage to all of our facilities and our goal is to complete this
work by the end of December.

Safely Reducing Uses of Force

A key focus of cultural reform has been around changing the way that the Department
approaches the use of force. We have revised our Use of Force (UOF) policy and will be
training all current and incoming staff on the new policy. New reporting, tracking, monitoring,
and components of the early warning system are being put in place now. We have also
doubled staffing in both our Investigation Division (ID) and our Trials and Litigation unit,

https://www1 .nyc.gov/site/doc/media/budget_testimony.page 3/29/2017
Department Ce8E tedifagv-02899-LTS Document 1-8 Filed 04/21/17 Page 5 of 15 Page 5 of 15

created a new recruitment process for ID, and are putting investigators in the facilities. All of
these changes will enhance Use of Force monitoring and ensure compliance.

All of these changes to how we approach the use of force, as well as many of the other
reforms under the 14-Point Anti-Violence plan are also reflected in the Nunez/DOJ consent
judgment. This is not surprising given that both were developed after an extensive review of
the challenges facing the Department with respect to violence. More importantly, this overlap
has allowed the Department to begin its work with the federal monitor in a proactive and
productive manner, with many of the pieces of the consent judgment already underway.

Expanded Training & Recruiting

We are not just expanding Use of Force training but also dramatically increasing other types
of in-service training for current staff. Over the next few years, staff will receive the following
in-service training:

* Crisis Intervention and Conflict Resolution,
* Defensive Tactics

* Direct Supervision and Safe Crisis Management for those working with adolescents and
young adults
* Probe Team Tactics for those working in intake area

* Cell Extraction
* Crisis Intervention Training; and,

* Additional specific trainings for those working with special populations, such as mental
observation areas and high custody adolescent and young adult areas

https://www1 .nyc.gov/site/doc/media/budget_testimony.page 3/29/2017
Department GPEEriedtfomv-02899-LTS Document 1-8 Filed 04/21/17 Page 6 of 15 Page 6 of 15

Recruitment has also been a top priority since | came to the department, not only to ensure
safe coverage of our jails, but to also reduce overtime with new, qualified officers. We have
improved our vetting process by more than doubling the number of staff in the Applicant
Investigation Unit (AIU). We raised our vetting standards to match NYPD's standards. Due
to years of neglect, we have developed a large officer deficit and rely heavily on overtime.
This is especially true when serving our specialty populations. To address this, we have
heightened recruitment. Approximately 1,000 new officers have graduated since the last time
| saw you. We aim to have roughly 600 recruits from this next graduating class, and will be
focusing on graduating over 600 from the class after that, breaking the class size records we
set last year.

We do face some operational hurdles as we increase the amount of training AND increase
the number of recruits we bring in to the Department. Our academy was never designed to
support such large recruit classes while also offering expanded in-service training. Increased
training imposes significant operational demands since, in addition to space, we must bring
on the appropriate trainers, resources, and materials in a timely manner. Furthermore, safely
pulling out staff from facilities to participate in training impacts overtime. Through careful
planning, we are working on minimizing the impact of having staff out for training on those
officers who remain working in our jails. We are also working with our agency partners and
City Hall to identify suitable spaces to accommodate our Academy and expanded training
needs.

Improving Programming and Housing

We are actively seeking to increase available programming for each inmate, with a goal of
offering five hours of available programming each day. Increasing programming serves two
important functions: it reduces violence by reducing idle time, and it better prepares
inmates to return to the community, so that they do not come back to our custody.

We have expanded the school day for adolescents in RNDC. We have opened
program-driven housing areas for young adults in GMDC. We are putting full-time program

https://www] .nyc.gov/site/doc/media/budget_testimony.page 3/29/2017
Department CeSBricdfagv-02899-LTS Document 1-8 Filed 04/21/17 Page 7 of 15 Page 7 of 15

coordinators in adolescent and young adult housing units to assess inmates’ needs and help
them build skills in preparation for reentry into society.

We are also developing programming options for adults. We are specifically looking at
programming around re-entry services, substance abuse, behavioral health, services for
incarcerated veterans, and female gender responsive programming. We have established a
more robust process for evaluating programming needs and have started implementing that
process within the young adult population. We will be implementing a similar procedure for
adults. Each inmate will be interviewed for programming interests as part of the new
admission process and these preferences are factors the HUB considers in making housing
determinations, so that we can build programming-focused housing units, similar to the
young adult houses.

ing with.Our Partners: Healthcare and
HWalicée

As | have discussed, DOC has made significant investments in new training, policies,
housing and programming that are all geared towards lowering violence, and keeping our
officers and inmates safe. There are a number of areas where we must continue to devote
significant resources and collaborate with key partners to maximize the returns on our
investment in violence reduction.

Healthcare Services

We are working very closely with our partners at New York City Health + Hospitals to better
support and manage those in our custody. As everyone knows, the City ended its contract

with Corizon in December 2015. New York City Health + Hospitals is now the manager and
provider of correctional health services.

New York City Health + Hospitals has been an essential partner as we develop alternatives
to punitive segregation and more targeted programming. The best example of this
partnership has been our joint expansion of the clinical models to ensure better care for
inmates with severe mental illness. The Clinical Alternative to Punitive Segregation (CAPS)
and the Program for Accelerated Clinical Effectiveness (PACE) are specialized units that

https://www 1 .nyc.gov/site/doc/media/budget_testimony.page 3/29/2017
Department GPSS rtedtagv-02899-LTS Document 1-8 Filed 04/21/17 Page 8 of 15 Page 8 of 15

focus on managing and treating these inmates. As | mentioned earlier, these units have had
low rates of violence and injury.

There has been a significant increase in coordination between DOC and Correctional
Health Services since New York City Health + Hospitals became the provider. We
continue to work closely with New

York City Health + Hospitals to find ways to expand our coordination in order to improve the
correctional health model.

PREA

As part of our efforts to voluntarily bring our Department in compliance with the federal Prison
Rape Elimination Act (PREA), we have been working with our federally-funded consultants,
the MOSS Group. Since we last met, at the recommendation of the MOSS Group, we
completed training of uniformed staff to serve as PREA compliance managers for all of our
facilities. We will begin facility-wide training in mid-March throughout three of our facilities,
including our female facility, the Rose M. Singer Complex.

Officer Safety

We believe that the combined impact of all our reforms will lower violence, and keep our
officers and inmates safe. We must invest in our officers, who are central to all of the work
that we do. That investment goes beyond expanding training or improving facilities. It
includes recourse against those inmates who assault officers and isolating those inmates
who consistently assault and harm other inmates by bringing contraband and weapons into
the jails. There were 1,100 inmate arrests last year. Those represent inmate arrests for
possession of weapons and other contraband, inmate on inmate assaults, and assaults on
our staff. We have been working collaboratively with the new Bronx DA to identify ways to
more efficiently handle and process re-arrests so that we can have swift and certain
punishment for those who commit acts of violence. We have a tough jail population with a

https://www1 .nyc.gov/site/doc/media/budget_testimony.page 3/29/2017
Department GOESSricdifagv-02899-LTS Document 1-8 Filed 04/21/17 Page 9 of 15 Page 9 of 15

high percentage of gang members in our facilities, so we are working with the Bronx DA and
the NYPD to better identify and share information about those gangs, connecting all
agencies’ knowledge to make everyone safer.

TheEuture of t 4-Point Plan: Expanding

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As | close, | want to highlight one facility where we have concentrated our attention and

rolled out our 14-point agenda — the George R. Vierno Center (GRVC). This serves as our
“model facility.” Some of our reforms, such as camera installation and improved front-gate
security, have been implemented in all

of our jails. In GRVC, we have made infrastructure changes to housing areas, rehoused
inmates using the HUB, dramatically increased available programming, steadied and
increased staff, and revamped incident responses. These changes will eventually be rolled
out department-wide.

Since standing up the model facility in September, ten housing units have been “re-started”
with an average daily population of 350-375 inmates. Within those “re-start” units, there has
only been one “A” use of force and only twenty-five incidents overall, during a time period
when, in the past, there might have been more than ninety with the same number of
inmates.

Ultimately, the most important component of these changes is that officers are empowered to
take control of their houses by using basic correctional practices and engaging with inmates
on a daily basis. This is the combination of policy, resources, and support that will ultimately
change the culture throughout this Department. | look forward to reporting more on these
advances and successes in the future.

| now turn the floor over to Frank Doka, our Deputy Commissioner of Financial, Facility,
and Fleet Administration, to discuss the FY17 Preliminary Budget.

https://www1 .nyc.gov/site/doc/media/budget_testimony.page 3/29/2017
Department O#%rrebfigy-02899-LTS Document 1-8 Filed 04/21/17 Page 10 of 1page 10 of 15

Financial and Facility Section

Good Morning, thank you for the opportunity to report on the Department's FY17
Preliminary Expense and Capital Budgets.

BOY Firpliminary Budget and Its Impact on

The Department's Fiscal Year 2017 Expense Budget is $1.31 billion. The vast majority of
this, 87%, is allocated for Personal Services, and 13% for Other than Personal Services.
The Fiscal Year 2017 budget is $7.7 million less than this year’s budget of $1.32 billion. This
decrease is mainly due to initiatives and grant funding allocated to the current fiscal year
only.

Included in the Preliminary Budget is, an additional $65.3 million in Fiscal Year 2016, $107.8
million in Fiscal Year 2017, $98.7 million in Fiscal Year 2018 and $94 million beginning in
Fiscal Year 2019.

The following are some highlights of the major programs that were funded:

« DOJ/Nunez Settlement —$39 million in FY16, $58.3 million in FY17, $53.2 million in FY18
and

$48.5 million beginning in FY19 was provided for an additional 298 uniformed and
131 civilian positions and associated OTPS items, to facilitate the Department
achieving compliance with the terms outlined in the DOJ/Nunez agreement. Various
commands within the Department require additional support as a result of the
agreement, due to substantial use-of-force tracking and reporting requirements; use
of force investigation protocols; improved applicant investigation measures to ensure
the Department recruits the most qualified Correction Officer candidates; enhanced
staff screening for post assignments to specialized housing units; supervision of the
inmate population between the ages of 16 through 19; and an expanded training

https://www1 .nyc.gov/site/doc/media/budget_testimony.page 3/29/2017
Departmentc#trrdefigy-02899-LTS Document 1-8 Filed 04/21/17 Page 11 of 1 Page 11 of 15

curriculum in areas such as use-of-force policy, crisis intervention/conflict resolution
and defensive tactics.

° 14 Point Plan Reform Agenda - $20.9 million in FY16, $41.3 million in FY17 and $37.3
million beginning in FY18 was provided for an additional 218 uniformed and 101 civilian
positions and associated OTPS items to continue the Department's efforts to decrease
violence and eliminate contraband entering in our facilities. The funding provided in this
financial plan will continue to help with work already begun for establishing
comprehensive security camera coverage, creating an integrated classification and
housing strategy, idleness reduction among our adult inmate population, keeping
weapons and drugs out of Rikers, and staff training.

* 2015 City Council Reporting Bills - $1.2 million in FY16 and $800,000 beginning in FY17
was provided for 4 uniformed and 4 civilian positions as well as funding for IT application
development to comply with data reporting on Enhanced Supervision Housing units,
inmates who await housing placement into RHU and CAPS, creation of the inmate bill of
rights and quarterly reporting of inmate population demographics.

* PREA Compliance —$255,000 in FY16 and $1 million beginning in FY17 was provided for
12 civilian positions needed as the Department actively moves forward to achieve federal
PREA compliance. In addition to receiving two federal grants over the past three years,
which funded the sexual safety assessment of our facilities and development of training
curriculum for our staff, the Department began hiring compliance managers to work
directly with the staff in our facilities in order to meet mandated PREA compliance
throughout the agency.

¢ Arrest Unit — approximately $800,000 beginning in FY16 was provided for 7 uniformed
and 2 civilian positions and associated OTPS items to work in conjunction with the Bronx
District Attorney's office for the arrest and swift prosecution of inmates found to have
committed either inmate-on-staff or inmate-on-inmate violent offenses within our facilities.

https://www1 .nyc.gov/site/doc/media/budget_testimony.page 3/29/2017
Departmento#*rrdctigy-02899-LTS Document 1-8 Filed 04/21/17 Page 12 of 1 Page 12 of 15

* Rikers Island Co-Generation Plant Maintenance and Support Contracts - $1.8 million in
FY16 and $3.7 million beginning in FY17 to fund service and maintenance contracts for
the solar turbines, compressors and control systems within the plant.

* Engineering Audit and Stormwater Water Compliance — approximately $500,000
beginning in FY 17 was provided to fund 5 Civilian positions that satisfy recommendations
in the Comptroller's April 2015 audit report of DOC’s Engineering Audit Office’s
Compliance with Directive #7, as well as to meet requirements under the State’s Small
Municipal Stormwater Sewer Systems (MS4) permit.

FaRding

With regard to capital funding, the Fiscal Year 2017 Preliminary Capital Budget and
Commitment Plan totals $1.7 billion, which covers Fiscal Years 2016 through 2020.
Between the September and January capital commitment plans, more than $200 million
was allocated for critical infrastructure upgrades of

Rikers Island facilities, information technology enhancements, and replacement of
equipment past its lifecycle.

Additional funding provided by OMB includes:

¢ $68 million for facades, windows, roofs and other structural improvements

¢ $67 million for air handling units, duct work, heating, cooling and ventilation equipment

https://www 1 .nyc.gov/site/doc/media/budget_testimony.page 3/29/2017
Department? otrdctiGN-92899-LTS Document 1-8 Filed 04/21/17 Page 13 of 1 Page 13 of 15

* $34 million for fire safety

* $20 million for classroom and programmatic space for our young adult, adult inmate and
high classification populations

¢ $8 million for the replacement and repair of gang cell release doors at RNDC, and

$7.7 million for IT and telecommunications equipment, radio console
replacement at the Transportation Division, asbestos abatement and shower
reconstruction

Thanks to the Administration’s capital investments since the FY16 Executive Budget, the
Department is moving forward with the necessary infrastructure modifications needed at
both our on-island and off- island facilities. Our facilities must be brought up to a state of
good repair to ensure the utmost safety of our staff and inmate population. Additionally, as
we reach our compliance goals of having operational fire alarm systems (Phase |) in all
facilities, we can now move forward with designing and implementing Fire Life Safety Phase
Il. Work for Fire Life Safety Phase I! will include installation of sprinklers, construction of
separation barriers to limit the spread of fire and smoke and upgrade all related systems
associated with fire-protection work at our facilities.

Along with the state of good repair projects, a number of initiatives included as part of the
Department's 14-Point Anti-Violence Reform Agenda are underway. The designs for all IP
camera installations are complete, and contracted construction work at two of our facilities
began last month with another three facilities to follow this month. Our internal facility
maintenance forces continues to install cameras at six other facilities. The plan is to have all
camera installation for these facilities completed by the end of December 2016.

As part of our redesign for the Emergency Services Unit, the design phase for the new K-9
facility, which will be able to house up to 80 canines in a state-of-the-art compound, has been
initiated, construction is expected to commence in September 2016 and be completed the
following year.

https://www1 .nyc.gov/site/doc/media/budget_testimony.page 3/29/2017
DepartmentotteotrdctiGy-92899-LTS Document 1-8 Filed 04/21/17 Page 14 of 1 page 14 of 15

To further our commitment to keeping dangerous contraband out of our facilities,
procurement is almost complete on the purchase of 16 dual-view x-ray machines for the
front entrances of our facilities. The

technology of these new machines will allow our front-gate officers to better screen, view
and detect hidden contraband being brought into our facilities. .

Headcount

The following is a summary of the changes to Department's civilian and uniformed
authorized staffing levels included in the January Plan:

* The full-time civilian authorized headcount increased by 256 positions in FY16 and 255
beginning in FY17. The decrease of one funded position is related to grant funding that is
added to the Department’s budget on an annual basis. The number of authorized full-time
civilian positions is 2,145 in FY16 and 2,144 in FY17.

* The uniformed authorized headcount is increased by 542 positions to 10,195 for FY16,
and further increases by another 25 positions to 10,220 beginning in FY17. The average
uniformed headcount is estimated to be 9,243 in FY16, which represents an increase of
447 compared to an average of 8,796 in FY 2015.

* The FY16 2” Quarter Civilianization Report provided to the City Council identified 98
uniformed staff working in civilian functions. The Department is committed to bringing that
number down by backfilling previously funded vacated civilianized positions. Additionally,
the Department will continue working to identify additional positions that could be
civilianized and address funding requirements with OMB at the appropriate time.

https://www1 .nyc.gov/site/doc/media/budget_testimony.page 3/29/2017
Department G@@Oreb fic -02899-LTS Document 1-8 Filed 04/21/17 Page 15 of 1Page 15 of 15

Thank you again for the opportunity to testify today and for your continued support. The
Commissioner and | are happy to answer any questions that you may have.

 

https://www1.nyc.gov/site/doc/media/budget_testimony.page 3/29/2017
